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Exhibit D
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In Re: : Chapter 11

Case No.

W.R. GRACE & CO., et al, : 01-01139 JKF
(Jointly
Debtors : Administered)

Thursday, June 11, 2009

Oral deposition of JAY W.

HUGHES, JR., ESQUIRE, taken pursuant to
notice, was held at the offices of
KIRKLAND & ELLIS, 665 Fifteenth Street,
NW, Washington, DC 20005, commencing at
9:07 a.m., on the above date, before Lori
A. Zabielski, a Registered Professional
Reporter and Notary Public in and for the

Commonwealth of Pennsylvania.

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8th Floor
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Testimony of:
JAY W. HUGHES,
By Mr Lewis
By Mr Mangan
By Ms Casey
By Mr Brown
By Mr Jacob Cohn
By Ms Simon
By Ms McCabe
By Mr Schiavoni
By Mr. Ifft
By Ms DeCristofaro
By Ms Alcabes
By Mr. Speights
By Mr Downey

JR., ESQUIRE
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DEPOSITION SUPPORT INDEX

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Request for Production of Documents:
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NONE

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NONE

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(Mr. Speights dropped of
teleconference from:)

285 Ol to 299 24

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PROCEEDINGS

MR. LEWIS: Federal rules.

JAY W. HUGHES, JR., ESQUIRE,

after having been first duly

sworn, was examined and testified

as follows:

EXAMINATION

BY MR. LEWIS:

Q. Good morning, Mr. Hughes.
My name is Tom Lewis. We met sometime
ago when we were negotiating on some
settlements out of Libby, Montana.

Do you recall that?

A. Yes, I do.
Q. What's your full name?
A. Jay, J-A-Y, W. Hughes, Jr.

Who is your employer?

PrP WO

W.R. Grace & Company.

Q. And what is your position

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1 Q. I am here today on behalf of
2 AXA Belgium as a successor to Royale

3 Belge.

4 And just to make this

5 quickly, if I could follow up wit the

6 same questions that were just ked to

7 you with regard to the Royal Belge

8 policies that appear on page 16 of what's

9 been designated Hughes hibit-12. There
10 are three policies th#t are identified

11 there for excess policies.

12 Are/you aware of any

13 agreement that/fRoyale Belge had
14 pre-petitiory pursuant to Royale Belge
15 ceded or aived any of its rights under

16 excess olicies that are listed on that

MS. HARDING: Object to
form.
THE WITNESS: No, I am not.
MS. McCABE: That's it.
22 - - -
23 EXAMINATION

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1 BY MR. SCHIAVONI:
2 Q. Mr. Hughes, hi. I am Tank
3 Schiavoni from O'Melveny for Arrowwood.
4 Mr. Hughes, you were asked
5 some questions about BNSF. Do you recall
6 that generally?
7 A. Yes.
8 Q. BNSF was asking about or
9 their counsel was asking about whether
10 claims against them were broadly covered
11 in the policy issued to Grace.
12 Do you remember that line of
13 questioning, just the line of questioning
14 generally?
15 A. Yes.
16 Q. In February of 2006, did
17 Royal give notice to you and to Grace
18 that BNSF was seeking coverage from Royal
19 under Grace's Zonolite policies for
20 claims against BNSF by Libby claimants?
21 A. I recall discussions at that
22 period of time between Grace and Royal
23 concerning BNSF claims, yes.
24 MR. SCHIAVONI: 13 is next.

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1 (Hughes-13 marked for
2 identification at this time.)
3 BY MR. SCHIAVONI:
4 Q. Would you take a minute to
5 read Exhibit-13. And then my question,
6 Mr. Hughes, is whether you have seen
7 Exhibit-13 before.
8 A. I do recall seeing this,
9 yes.
10 QO. And can you tell us what
11 Exhibit-13 is?
12 A. It's a letter from Carl
13 Pernicone to me dated February 24th,
14 2006, and he is writing on behalf of
15 Royal, advising Grace that BNSF Railway
16 is seeking coverage from Royal under the
17 Zonolite policies for the Libby claims.
18 Q. Okay. And did you receive a
19 copy of Exhibit-13 on or about February
20 24, 2006?
21 A. I believe so.
22 Q. And --
23 A. Although it looks like the
24 stamp is March, but...

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1 Q. You may have received it as
2 late as March, right?
3 A. Uh-huh.
4 Q. And did you receive a copy
5 of Exhibit-13 in the ordinary course of
6 your business?
7 A. Yes.
8 Q. Okay. And having reviewed
9 Exhibit-13, does it refresh your memory
10 that Royal gave you notice in February of
11 2006 that BNSF was seeking coverage from
12 Royal under Grace's Zonolite policies for
13 claims asserted against BNSF by the Libby
14 claimants?
15 A. Yes.
16 Q. Did Royal provide Grace with
17 a copy of the January 31 letter from BNSF
18 to Royal demanding coverage under Grace's
19 Zonolite policies?
20 A. Yes.
21 QO. Am I correct that Royal
22 advised Grace in February of 2006 that
23 Royal had declined to accept the tender
24 of claims by BNSF under Grace's Zonolite

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23

24

policies?

A. Yes.

Q. Am I also correct that in
February of 2006, Royal advised Grace
that it was referring to Grace the BNSF
Claims that were being made under the
Grace/Zonolite policies?

A. Repeat that question.

MS. HARDING: Object to
form.

MR. SCHIAVONI: Why don't is
we have it read again.

(The reporter read from the
record as requested.)

THE WITNESS: Yes.

BY MR. SCHIAVONI:

Q. Is one of the things that
Royal did in February of 2006 was invoke
the indemnity of the 1995 settlement
agreement that it had with Grace?

A. Yes, it did.

Q. Am I correct in May of 2006,
Grace joined Royal in jointly responding

to BNSF's request for coverage under the

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1 Grace's Zonolite policies?
2 A. Yes.
3 QO. And am I correct,

4 Mr. Hughes, that Grace advised BNSF in
5 May of 2006 that Royal had fully

6 discharged and satisfied any obligation

7 it may have owed to Grace for

8 asbestos-related claims under the

9 Zonolite policies?

10 MS. HARDING: Object to

11 form.

12 But go ahead.

13 THE WITNESS: Yeah, my

14 recollection was that that was the
15 general message in the letter.

16 BY MR. SCHIAVONTI:

17 Q. Is it also true, Mr. Hughes,
18 that Grace told Royal -- and this is in
19 May of 2006 -- that Royal had fully

20 discharged and satisfied any obligations

21 it may have owed to Grace for
22 asbestos-related claims under the
23 Zonolite policies?

24 A. We may have told them that,

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1 but the agreement itself had -- I think
2 the answer to your question is yes.
3 MR. SCHIAVONT: Okay. Io am
4 going to hand you a copy, and we
5 will mark this as Exhibit-14.
6 (Hughes-14 marked for
7 identification at this time.)
8 BY MR. SCHIAVONL:
9 Q. Have you seen a copy of
10 Exhibit-14 before, Mr. Hughes?
11 A. Yes, I have.
12 Q. And can you tell us what it
13 is generally?
14 A. It's a letter on Wilson
15 Elser letterhead that was sent by Royal
16 and Grace to attorneys for BNSF Railway
17 in Montana indicating that we had -- that
18 Royal had discharged its obligations
19 under the policies and that if they
20 intended to proceed against Grace, that
21 we would have to take action in the
22 bankruptcy court.
23 Q. Mr. Hughes, on the second
24 page of this letter, the page that's

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1 marked GCO 000200, does your signature
2 appear on the bottom?
3 A. Somebody signed it on my
4 behalf. Anybody who knows my writing
5 knows that's definitely not my writing.
6 Q. Did you authorize had person
7 to sign on your behalf?
8 A. Yes.
9 Q. And were you authorized to
10 enter into this letter on behalf of
11 Grace?
12 A. Yes, I was.
13 Q. And your entry into this
14 letter or author -- was your
15 authorization of this letter part of the
16 ordinary course of your duties at Grace?
17 A. Yes.
18 Q. Were the statements that are
19 made in Exhibit-14 true and correct when
20 they were made?
21 A. I believe so, yes.
22 Q. Prior to issuing the May 5th
23 letter that's marked as Exhibit-14, did
24 you review the 1995 Grace/Royal

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1 settlement?
2 A. Yes, I did.
3 Q. And prior to issuing the May
4 5, 2006 letter that's marked as
5 Exhibit-14, did you have occasion to
6 speak to anybody at Grace who was
7 involved in the 1995 Grace/Royal
8 settlement?
9 A. Yes.
10 Q. And did you speak to
11 Mr Posner?
12 A. Yes, I did.
13 Q. Did you speak to anyone
14 else?
15 A. I think that Mr. Finke and
16 Grace counsel were also involved in this
17 letter.
18 Q. And am I correct that in May
19 of 2006, one of the other things you did
20 was that you advised BNSF that Grace had
21 fully and finally released Royal from any
22 further liability for asbestos-related
23 claims under the Grace/Zonolite policies?
24 MR. LEWIS: Objection,

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1 leading.
2 MR. SCHIAVONTI: All right.
3 I will rephrase the question.
4 BY MR. SCHIAVONI:
5 Q. Did you --
6 MR. JACOB COHN: This is
7 cross.
8 MR. LEWIS: It's not cross.
9 These guys are in perfect symphony
10 here.
11 BY MR. SCHIAVONT:
12 Q. In May of 2006, Mr. Hughes,
13 did you advise BNSF on behalf of Grace
14 that Grace had fully and finally released
15 Royal from any further liability for
16 asbestos-related claims under the
17 Grace/Zonolite policies?
18 MR. LEWIS: Same objection,
19 leading.
20 THE WITNESS: This letter
21 says that.
22 BY MR. SCHIAVONTI:
23 Q. And that's a statement you
24 authorized to be made to BNSF, right?

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1 MR. LEWIS: Same objection,
2 leading.
3 THE WITNESS: Yes. Grace
4 authorized, yes.
5 BY MR. SCHIAVONT:
6 Q. And, Mr. Hughes, did you
7 believe that statement to be a true and
8 correct statement at the time it was
9 made?
10 MR. LEWIS: Objection, asked
11 and answered.
12 THE WITNESS: Yes.

13 BY MR. SCHIAVONTI:

14 Q. And is one of the other --
15 strike that.

16 Mr. Hughes, did you also

17 advise BNSF in May of 2006 that there was
18 no basis for BNSF to pursue coverage from
19 Royal for asbestos-related claims under

20 the Grace/Zonolite policies?

21 MR. LEWIS: Objection,
22 leading.
23 THE WITNESS: Where does it

24 say that in this letter?

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Page 372
1 BY MR. SCHIAVONT:
2 Q. Let's look together.
3 A. "There is no basis for BNSF
4 to pursue coverage from Royal for
5 asbestos related claims under the
6 Zonolite policies," is the final sentence
7 of the first paragraph on page 2. But
8 that's not how I understood your
9 question.
10 Q. Let me see if I can ask it

12 In May of 2006, did you

13 advise BNSF that there was no basis for
14 BNSF to pursue coverage from Royal for
15 asbestos-related claims under the

16 Zonolite policies?

17 A. Yes.

18 MR. LEWIS: Objection,

19 leading. Let the record reflect
20 that the witness answered before I
21 had an opportunity to state my

22 objection.

23 BY MR. SCHIAVONI:

24 Q. And was that a true and

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1 correct statement when it was made?
2 MR. LEWIS: Objection, asked
3 and answered.
4 THE WITNESS: Yes.

5 BY MR. SCHIAVONI:
6 Q. You were asked some
7 questions by Libby's counsel about your

8 knowledge of the exposure that the manner

9 in which folks were exposed in Libby.

10 Do you recall generally

11 those questions?

12 A. Yes.

13 Q. Do you have any personal

14 knowledge based on your own observations

15 of how anybody in Libby was, in fact,

16 exposed to asbestos?

17 MR. LEWIS: Objection. That
18 question is loaded up and leading.
19 MS. HARDING: I will object
20 to form as well.

21 Go ahead.

22 THE WITNESS: I never was

23 personally present at the Libby

24 mine and mill and the Libby

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24

BY MR.

operation, but there is a
Substantial amount of documentary
evidence and scientific evidence,
industrial hygiene records and so
on concerning the exposure levels
of employees at the mine and mill.
And my earlier testimony was based
on my familiarity generally with
that information.

SCHIAVONT:

Q. Okay. So you were relying

on general documentation about things

that occurred in Libby; is that right?

MS. HARDING: Object to form
as to things that occurred in
Libby.

But go ahead.

THE WITNESS: I was relying
On air sampling data that had been
collected by the company, by the
State of Montana, by the United
States Federal Government, by
insurance carriers providing

coverage to Grace, I believe as

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24

BY MR.

well on air sampling and personal
air sampling that was for
employees involved in the mine and
milling of vermiculite. So I
think that's a significant body of
data out there, and that's what I
was relying on.

SCHIAVONI:

Q. Would it be fair to say that

you can't offer any testimony about how

any individual Libby claimant was, in

fact,

exposed to asbestos based on any

personal knowledge that you might have

with regard to that Libby claimant?

MS. HARDING: Objection.

MR. LEWIS: Objection,
leading.
MS. HARDING: Objection to

form and to the broad
characterization of Libby
claimant.

THE WITNESS: Again, I was
never present in Libby during the

manufacture and mining and milling

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BY MR.

of vermiculite and vermiculite
concentrate. So to that extent,
no.

But, again, there is a body
of data out there that I am very
familiar with that was created by
various individuals, trained
industrial hygienists, measuring
the exposures associated with the
Libby work, and that's what was
the basis for what my earlier
testimony.

SCHIAVONTI:

QO. Is it true that some of the

people in Libby that have brought claims

against Grace also asserted that they

were exposed to asbestos from non-Grace

sources?

A. Yes.

Q. Okay. And the lumber yard

out there is one such source, right?

A. Yes.

QO. And is it also true that

some of the people in Libby have

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identified other sources of asbestos that

are unrelated to Grace besides the lumber

yard?

A Yes

Q. You were shown a copy of
Exhibit Hughes-l. Let me hand you what

was previously marked as Exhibit-l.
Did you prepare Exhibit-1?

A. No.

Q. Was Exhibit-1 prepared under
your supervision?

A. No. I think I testified to
this earlier that I was involved in the
collection of the data a lot of which is
reported in the report. But Mr. Port
didn't directly report to me, and I
didn't draft the report itself or the
attached tables.

Q. So some of the data in
Exhibit-1 may have been collected by you,
but you didn't prepare the exhibit and
you didn't supervise its preparation; is
that right?

A. No.

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1 MS. HARDING: His question
2 was correct, that you didn't -- it
3 was one of those backwards things.
4 THE WITNESS: Sorry.
5 BY MR. SCHIAVONI:
6 Q. Some of your data may be in

7 Exhibit-1, but you didn't prepare

8 Exhibit-1 and you didn't supervise the

9 preparation of Exhibit-1; is that right?

10 A. I did not prepare Exhibit-l,
11 nor did I supervise the preparation of

12 Exhibit-1.

13 Q. The 1995 Grace/Royal

14 settlement covered policies issued to the
15 Zonolite Company; is that generally

16 right?

17 A. Yes.

18 Q. Okay. Are you aware whether
19 Royal's also alleged to have issued,

20 entirely separate from that, a high level

21 excess policy in the 1980s to Grace?
22 A. I learned that in connection
23 with the bankruptcy. I am not sure I

24 knew that beforehand.

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1 Q. Okay. But sitting here
2 today, you are familiar with the fact
3 that there is a separate high level
4 excess policy that Royal has issued in
5 "80s to Grace; is that right?
6 A. I believe so, yes.
7 Q. And Mr. Brown asked you some
8 questions about whether or not rights to
9 associate in the defense and to cooperate
10 had been ceded by his clients to Grace.
11 Do you remember those
12 questions generally?
13 MS. HARDING: Object to
14 form.
15 But go ahead.
16 MR. SCHIAVONI: All right.
17 THE WITNESS: There are
18 questions about it. I think the
19 question was whether we had waived
20 or all agreed, and the answer was
21 no, I wasn't aware of any such
22 agreement.

23 BY MR. SCHIAVONI:

24 Q. Has either Royal or

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23

24

Arrowwood ceded or in any way waived or
given up any of its rights to associate
in the defense or cooperate or any other
rights under its high level excess
policy?

A. Not that I am aware of.

MS. HARDING: Object the
form with respect to rights.
BY MR. SCHIAVONI:

Q. And am I correct that prior
to the bankruptcy filing, Grace hadn't
tendered any claims to Royal under that
high level excess policy?

A. I don't know the extent to
which we were tendered claims
pre-petition to high level excess
policies. Generally, the notice of the
claims was done by our insurance broker.

Q. Okay. So you don't know one

way or the other?

A. I don't.
MR. SCHIAVONI: That's all I
have. Thank you, Mr. Hughes.

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1 That's an impertinent question

2 THE WITNESS: 6 years
3 old
4 SCHIAVONI: It

monstrates how silly your

questions were, sir.

Leo

7 BY MR. SCHIAVONI:

8 Q. How old were you in 1963?
9 A. I was 6.
10 Q. Is it fair to say you didn't

11 work at Grace in the '50s and ‘60s,

12 right?

13 A. No, I didn't.

14 Q. And you never worked at the
15 Zonolite Company; is that right?

16 A. No, I didn't.

17 Q. Is it fair to say that you,
18 Mr. Hughes, have no personal knowledge as
19 to whether or not any policies were

20 actually issued to BNSF in the '50s or
21 "60s, do you, because you weren't around
22 then?

23 A. No, I don't.

24 MR. SCHIAVONT: Thank you,

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23

24

Sir.
MS. HARDING: All right.
(The deposition concluded at

6:42 p.m.)

